            Case 2:21-cv-03208-JHS Document 8 Filed 09/17/21 Page 1 of 4




                                    IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    LEDCOMM LLC                                            :             Civil Action
                                                           :
                  v.                                       :
                                                           :
    WESTINGHOUSE                                           :             No.: 2:21-cv-3208


                                                        ORDER

                  AND NOW, this                day of                                       21 it is hereby
                                                                                         20,

                                                  Jae Y. Pak
                  ORDERED that the application of ____________________________________, Esquire,

to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) is


                       GRANTED.1

                       DENIED.




                                                                                                    , J.




1This Court's Local Civil Rules require attorneys, including those admitted pro hac vice, to complete the registrat ion
process for the Court's ECF system. Instructions and forms are available on the Court website.
                       Case 2:21-cv-03208-JHS     Document 8 Filed 09/17/21 Page 2 of 4
                                        ,5t<+)t>5-<)(t9<%<)9t(-9<8-&<t&6>8<t
                                             *68t<+)t)%:<)85t(-9<8.&<t6*7)55:@2?%5-%t

                                                                                                                  
                                                                                              &OmOUt%FhQ^[t5^t

                            $$$ $  "$ $   $$$  $
                                     $  $  $$ !$      $#$

%773.&%5=9t9<%<)4)5<t

                                                j[GHaePL[HG tDYtD[tDhh^a[HptnM^tOet\^htFjaaH[hVqtDGYQhhHGth^
HOhMHathMHtEDat^JthMOetF^jaht^athMHtEDat^JthMHt9j`aHZHt&^jaht^Jt7H[[eqUmD[OD tD[Gt.tMHaHEptD``UptJ^atDGtYQeeP^[th^t`aDFhOFHtQ[thMOft
F^jaht`jaekD[hth^t3^FDVt8jUHt^Jt&OmOVt7a^FHGjaHt#;E t D[GtDYtejEYOhhP[LtDtFMHFTt[jYEHatABBCtJ^athMHttDGYQeeO^[t
JHHt

       4.//4//4 4%40,,&/!34%//4/(4+,/4'4/4(!!(2'4.//40,/('.
                    1UUP\_Rgt                      !!t                     " $t
                                                                                   
                   9hDhHtnMHbHtDGYOhhHGt           s%GYQeeO^[tG DhHt              %hh^a[Hpt-GH[hQKOFDhQ^[t5jYEHat



                   9hDhHtnMHaHtDGYPhhHGt           %GZPeeO^[tGDhHt               %hh^a[Hpt-GH[hOJQFDhO^[t 5jYEHat



                   9hDhHtnMHaHtDGYOhiHGt           s%GYOeeO^[tGDhHt               s%hh^a[Hpt-GH[hOJOFDhO^[t5jYEHat



        4.//4//4 4%40,,'/!34%//4/(4+,/4'4/4(#(2'4,! 1,./('.

                                                                       
                   s&^jahtnMHaHtDGZOhhHGt           %GYOeeQ^[tGDhHt               s%hh^a[Hpt-GH[hOJQFDhO^[t5jYEHat



                   s&^jahtnMIaHtDGYQhhHGt           s%GYPeeO^[tGDhHt               %hh^a[Hqt-GH[hQJOFDhO^[t5kYEHat



                   '^jahtnNIaHtDGYOhhHGt            s%GYQeeO^[tGDhHt              s%hh^a[Hpt/GH[hOJOFDhQ^[t5kYEHat


       4.//4//4 4%4 /4+,.'/44%%,4*4/4(,.4,.4'4((4./''4 '4 //4 42!!4%'4%3."4.4'4//(-3
        *4/.4(0,/40+,/$4 '4(,'4/(4!24 '4//4 42!!4.0++(,/4'4 '4/4 ('.//1/('4)4/4'/4 //.4

         4%4'/,'4%34++,'4(,4
                                                    %``t          L[DhjaHt

                                                       
                                                     (DhH t

           5DYHt^Jt %``VPFD[het*OcYt     ,*! +#,,,"(,,
           %GGaHeet                          ,,#$ %,)&(, , ,
           <HVH`M^[Ht5jZEHdt
                                                
           )YDOWt%GGaHeet
                                          %!' %$",

       0tGHFXDaHtj[GHat`H[DVhrt^Jt`HaSjapthMDhthMHtJ^aHL^O[LtQethajHtD[GtF^aaHFht


                        
       )oHFlhHGt^[t
                               ( DhH t
                                                                                 
                                                                                            %``VOFD[het9OL]DhkaHt
                                                                                                                          
                                                                                                                          
                Case 2:21-cv-03208-JHS Document 8 Filed 09/17/21 Page 3 of 4

 II. SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

           The undersigned member of the bar of the United States District Court for the Eastern District of Pennsylvania
 hereby moves for the admission of Jae Y. Pak                                                                         to practice
 in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or after reasonable inquiry believe)
 that the applicant is a member in good standing of the above- referenced state and federal courts and that the applicant’s
 private and personal character is good. I certify that this application form was on this date mailed, with postage prepaid, to
 all interested counsel.

 Richard C. Weinblatt
 ______________________              _________________________
                                                                             11/2001
                                                                             ____________________
                                                                                                       87932
                                                                                                       ___________________
 (Sponsor’s Name)                    (Sponsor’s Signature)                   (Admission date)           (Attorney
                                                                                                       Identification No.)


 SPONSOR’S OFFICE ADDRESS AND TELEPHONE NUMBER:

   Stamoulis & Weinblatt LLC
   800 N. West Street, Third Floor
   Wilmington, DE 19801; (302) 999-1540



I declare under penalty of perjury that the foregoing is true and correct.

             September 17, 2021
Executed on __________________________                          ____________________________________________
                       (Date)                                                (Sponsor’s Signature)
            Case 2:21-cv-03208-JHS Document 8 Filed 09/17/21 Page 4 of 4




                                   IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   LEDCOMM LLC                                            :             Civil Action
                                                          :
                  v.                                      :
                                                          :
   WESTINGHOUSE LIGHTIN                                   :             No.: 2:21-cv-3208


                                             CERTIFICATE OF SERVICE

                                                                                       Jae Y. Pak
                 I declare under penalty of perjury that a copy of the application of _________________________,

Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant proposed

Order which, if granted, would permit such practice in this court was served as follows:

A copy of the foregoing was filed with the Court's electronic filing system to be served
electronically upon all counsel of record in this matter.




                                                                        ____________________________________
                                                                        (Signature of Attorney)

                                                                         Richard C. Weinblatt
                                                                        ____________________________________
                                                                        (Name of Attorney)

                                                                         LedComm LLC
                                                                        ____________________________________
                                                                        (Name of Moving Party)
                                                                         09/17/2021
                                                                        ___________________________________
                                                                        (Date)
